Case 9:22-cv-81294-AMC Document 98 Entered on FLSD Docket 09/20/2022 Page 1 of 19



                IN TH E U NITED STATES D ISTRICT CO URT F            LH X Y      / p        D C.
                                                                                             .

                         SO U TH ER N D ISTR ICT O F FLO R ID A
                           W EST PA LM BEA CH D IV ISIO N
                                                                         SEF 16 2222

   DONALDJ.'
           ntlJMI,,                                                      îto
                                                                           7I
                                                                           .o,
                                                                             L
                                                                             J,jE
                                                                                :'
                                                                                 l-î
                                                                                   w1.
                                                                                     R
                                                                                     tj
                                     Plaint# No.9:22-cv-81294-AM C
           V.
                                               Dated:Septem ber16,2022
   UN ITED STATES OF AM ERICA,

                                               JURY 'ITUAL DEM ANDED
                                   Defendant

                  M OVANT-INTERVENOR (PRO SEI-RAJK.PATEL'S
                                   A M EN D ED D K T.87

        1,T.E.,T.E IG JK.PATEL,the undersigned m ovant-intervenorpro se,in the above-
  nam ed case,w ith apending m otion atDkt.36,hereby subm ittlais am ended reply to De-
  fendant-urtited StatesofA m erica'sResponseatDkt.48zw hich isw ritlen tobe an addidon

  to Dkt.60 (duplicatefiling atDkt.61),orasm y responseto Defendm t'sM otion atDkt.
  69.L.R.7.1(c)(2)(10pages,gontand back).Am endments.
        W HEREAS,''Atlom eyGeneralBrewsterexplained m oreth> acenturyago,'ltlhere
  are two kindsofofsdalterm sf..-one kind of'term 'refersto aperiod ofpersonalservice.
  In thatcmse,'the term is appurtenantto the person/...Another kind of'term 'refers to

  aftxedsiotoftimetowhichindividualappointeesareassigned...-rherez'theperson Lsap-
  Purtenantto the term /...ln otherw ords,a 'term ofoffice'ean eitherrun w 1t1:the person

  orwith the calenanr/'united Statesr.W ilson,290F.3d 347,353 (D.C.Cir.2002)(quoting
  Comm'rsoftheDgf.ofcolumbia,170p.Att'yGen.476,476-79(1882):and,
Case 9:22-cv-81294-AMC Document 98 Entered on FLSD Docket 09/20/2022 Page 2 of 19



        W HEREAS,thePresidendalRecordsAct,44U.S.C.jj2.201-2209,m akestheform er
  Presidenta partofthe Execudve Branch,and m ore spedhcally the Presidency,W ilson,
  290 F.3d at353 & Federnlist78;and,
        W lv lkEAs,execudve privilege ''safeguardsthe publicinterestin candid,confiden-

  t4aldeliberadonsw itlnin tlw ExecutiveBranch;itis'fundam entalto theoperadon ofGov-

  ernm ent,'''Trumpv.M azars1.f.5.,LLP,140S.Ct.2019,2032(U.S.2020);artd,
        W HEREM ,allPresidentialdata''lis)presum ptively privileged,''Nixon v.Sirica,487
  F.2d 700,716(D.C.Cir.1973/ and,
        W HERM S,''irtformation subjectto execudveprivilege deserves'the greatestpro-
  tecdon consistentwith thefairadministradon ofjustice,'''M azars,140S.Ct.at2024(quot-
  ing UnitedStatesv.Nixon,418U .S.683,715 (1974));and,
        W HEREAS,''rtlheltigh respectthatisow ed to theofficeoftheChiefExecudve...is
  am atterthatshould inform the conductoftheentire proceedinp''Clinton v.Jones,520'
  U.S.681,705,117S.Ct.1636,1650-51(1997),and thatthereisatradition offederalcottrts'
  affording ''the utm ost deference to Presidendal responsibilides Clinton, 117 S.Ct.at

  1652,/'In reLindsey,158F.3d 1263,1280 (D.C.Cir.1998)(quoting Nixon,418 U.S.at710-
  11)(internalquotadon m arksom ittedl);and,
        W HEREAS,''ltlhe authority to protectnationalsecttrity information falls on the
  President/'Dep'toftheNavyv.Egan,484U.S.518,527(1988),seealso,e.g.,M zfm/zyv.Sec'y,
  IJ.S.Dep'tofArmy,769Fed.Appx.779,792(111 Cir.2019),& Dkt.69at13;and,
        W HEREAS,forpurposesofPresidentialRecordsA ct,theincum bentPresidentw ho
  transidonsto form erPresident,isan ''agent''ofthe people,Egan,484 U .S.at529,Feder-
  alist78,& D kt.69 at18;and,




                                           2
Case 9:22-cv-81294-AMC Document 98 Entered on FLSD Docket 09/20/2022 Page 3 of 19



         W HEREAS,the Suprem e Cottrthasem phasized thatprivilege claim s,''m ustbe con-

  sidered in lightofourltistoriccom mi% enttotheruleoflaw''and ''ltlheneed todevelop
  a11relevantfactsin theadversary system ,''Nixon,418U.S.at708-09 & Dkt.69at% and,
         W HEREAS,''liln the performance of assigned consdtudonal dudes, (Executive
  branchlofthe Governm entmustirtitially intezw etthe Consdtudon,and...-fhe Presi-
  dent's counsel,asw e have noted,readsthe Corusdtudon asproviding an absolute privi-
  lege ofconh'dentiality for allPresidendalcom m unicatiorusz''Nixon,418 U .S.at703-4,28

  U.S.C.j516,& seegenerallyDavid A.Strauss,''PresidentialInterpretadon oftheConsd-
  tutioa ''15CardozoL.Rev.113,113-135(1993)1;and,
         W HEREAS,in other w ords,''executive branc.h m ustinterpretthe Cortstitudon be-
  foreitcan decidew hatto doz''seegenerally Strauss,15 Cardozo L.Rev.at113-1359and,

         W I-IEItEAS,theSupremeCourthas''rejectled)theargumentthatonly anincumbent
  Presidentmayassert''separadon-of-powersclaims,Nixonv.Adm'rofGen.Servs.,433U.S.
  425,439(1977);andz
         W HEREAS,there is an intem alseparation ofpow erson interpreting the Consdtw
  tion w ithin the Executive Branch;and,
         W l-œlkEM zprivilege and im m tm idesm ay be used to sustain separation ofpow ers
  insidebranches ofgovernm entand acrossgovernm entsunderthe U nited StatesCorksti-
  tudon;and,

         W IIEItEAS,theU nited StatesDepartm entofStateisresponsibleforinterpreting and

  elaborating on tlaePrivilegesandlmm llnitiesClause,U.S.const.art.lV,j2,
                                                                        '




         1.David A.Strauss,''Presidendallnterpretation oftheConstitudoa''15 Cardozo L.Rev.113,113-
  135 (1993), https;//chicago= bou-   nd.uY cago.edu/c 'view content.cp'?referer= &h% sreo =l-&arh
                                                           -                 -   -               .-
  clea/oo6&contextzjournal ardclesipresidential.

                                                 3
Case 9:22-cv-81294-AMC Document 98 Entered on FLSD Docket 09/20/2022 Page 4 of 19



         W HEREAS,theUnited StatesDepartm entofStateshow sitselaboradon on the Priv-
  ileges and lm m tm itiesClause in the U nited StatesO rderofPrecedence by the Office of

  the Chief of Protocol,https://- w .state.gov/N -content/uploads/zor /oz/uoted-
  States-order-of-precedence-Februaa -zozz.pdf(revksed Feb.11,2022)& U.S.const.art.
  W ,92;and,
         W HEREAS,theUnited StatesDepar% entofJustice,theAttom ey General,orU.S.
  Attom ey Juan Gonzaleszdid notfollow theUnited StatesOrderofPrecedence duly es-
  tablished by the O fficeofthe CitiefofProtocol,Id.;and,
         W HEREAS,the incllm bentPresidentofthe United Stateshassupported theUnited
  StatesOrderofPrecedence housed by theUrtited StatesD epartm entofStateO fficeofthe
  CltiefofProtocol,w hich show sthatform erPresidentTnlm p outranksincum bentAttor-

  ney GeneralM errick Garland,Id.& 3U.S.C.jj301etseq.;and,
         W HEREAS,thus,the U rtited StatesD eparM entofState and the U rtited States D e-

  partm entofJusdceareadversariesin oursystem ofruleoflaw,in orderto createasepa-
  radonofpowersand checksandbalance,butcf.DoctrineofComitp U.S.corust.art.1V,j
  2,& 28U.S.C.j5169and,
         W HEREM ,the incum bentPresidentofthe U nited Stateshas notcleared,norm ay

  ratifytm consdtutionalactstom akethem consdtutional/breac.
                                                           h ofprotocol;and,
         W HEREAS,the execudve Deparfm ents and itsH eadshavebeen c eated,by an Act

  ofCongress,and appointed by the President,M tIAadvice and consentfa'om the Senate,


          2.Underthecom mon lawztlaeincum bentKing m ay changeprotocolat-w illagainstaform er
  H ead ofState orapreceding M onarch;thosevested powersareembedded in the United StatesCortsdttl-
  tion and rem ain constant1m 151lawfully am ended.Besides,asthecom plaintand A ttorney General'sM er-
  rick Garland'spublic,apolidcal,and legalcom m entsshow,currently,ozzly aunitofan Exectzdvebranch
  hasacled,i.e.theDepartmentofJustke-F.B.l.,ratlaerth= theExecutwe
                                                                ' branch aswhole.Dkt.1at10.To
  no stzrprise,even againqtaformerpresident,in orderto legally condidon thepeacefultransidon of
  power,theExectzdvepowerismuch w eakerthartofacomm on law King's. United Statesv.Providence
  JournalCo.,485U.S.693,701(1988)(moreth= one''Urtited States''is''statllingvl.
Case 9:22-cv-81294-AMC Document 98 Entered on FLSD Docket 09/20/2022 Page 5 of 19



  Frq tag v.Comm'r,501U.S.868,886,917 (1991)(discussing H eadsand prindpalofficers
  oftheexecutivedepartm ents);and,
        W HEREAS,theExecudveBranch's''interpretadon ofitsEownlpow erso..isduegreat
  respectfrom the others,''N ixon,418U .S.at703-4;and,

        W HEREAS,''(a1lJpowersof1aw ertforcement...areassignedtm derou.
                                                                      rConsdtudon
  to theExecudveand theJudiciarp''Quinn v.United States,349U.S.155,161(1955).
        'IYIEREFOM ,only aunitoftheExecudveBranch,the currentAtlorney G eneral,has
  broughtchargesagainstform erPresidentTrum p in violadon oftheinter-w orldngsofthe
  execudvebranch protocol,ordered by theincum bentPresidentBiden,ashoused by Pres-
  identBiden's subordinates,w ho are also either the A tlorney General's superiors or co-

  equalsonthesubject-matter,intheUrtited StatesDeparM entofState.
        FURTHERM ORE,thePresident,the com ts,ortheExecudveBranch cannotm ute dis-
  tinctionsofoffice,person,statezand governm ent,asthey are an elaboradon ofthe United
  States Cortstitudon Privileges and lm m llnides Clause,w hic.
                                                              h lays outthe structure and

  lanesofenforcem ent.

        W HEREAS,in orderforafederaldistrictcottrtof1aw tohavepersonaljurisdicdon,
  tmderFed.R.Civ.12(b)(2),tradidonalnotiorusof''naturaljusdcez''''fairplap''and ''sub-
  standaljustice''mustatalltimenotbeviolated,McDonaldv.M abee,243U.5.90,92(1917),
  JointAnti-FascistComm.v.M cGrath,341U .S.123,123(1951),Breithauptv.Abram,352U .S.
  432,435(1957)(shocktheconsdence,tradidonalnodonsoffairplay and decencp indicia
  ofnotapeacefultranqition ofpowercaused by Defendant-Dolisaviolation ofthecon-
  science),Gonzalesv.United States,348U.S.407,412 (1955)(''lznderlying conceptsofpro-
  cedttralregulnrity and basicfairplay''),Int'1ShoeCo.v.W ashington,326U.S.310,324 &
  326(1945),United Statesv.Lovasco,431U.S.783,796(1977)(dueprocessembodies''fun-
  damentalconcepdonsofjusdce''and ''thecommllnity'ssenseoffairplay and decencf')
Case 9:22-cv-81294-AMC Document 98 Entered on FLSD Docket 09/20/2022 Page 6 of 19



  (sccFederalist77,United Statesasacommunity),Cnty.ofSacramentov.Lewis,523U.S.
  833,847(1998)(conscience-shockingbehavioris''so 'brutal'and 'offensive'thatit(does)
  notcomportw1t14tradidonalideasoffairplay and decency.'')(abuseofexem tivepower)
  (decencies of''dvilized conductz''epitomized in U.S.const.art.lV,j 2)(bowing and
  curtsy am ongstand tostateactorsortheeffectin ottrcom mllnity),& Sessionsv.Dimaya,
  138S.Ct.1204,1212(2018)(requiredbyboth ''ordinarynotionsoffairplay and thesettled
  rulesoflaw .'');and,
        W HEREAS,traditionalnotlonsofnaturaljusticestatesaform erT.H.(T.E.)President
  oftheUnited States(T.E.PresidentoftheUrtited Statesforalldocum entsforeign affairs),
  from theNaturalState,ismorefitth= thecurrentcout't(judge and Defendant)and the
  N aturalOrderdem ands thatthe incum bentAttorney G eneralyield to pressing charges
  againstPlaintiff,ourform erH ead ofState,seeUnited StatesO rderofPrecedence-urtited

  StatesDep'tofState-ofsceoftheCltiefofProtocol,U.S.const.art.lvzj2,& Dkt.60at2,
  5,5 n.3,& 7;and,

        WHEREAS,traditionalnotiortsofbasicfairplay and substantialjusdce havebeen
  violated,seee.g.Obergefellv.Hodges,576U.S.644,742(2015)(laarsh treatmentisnotfair
  play)(gaysand lesbianshavebeen dertied theNaturalOrder,pursuantto theirachieve-
  m ents in dvilsocietp asthe w ealthiestcom m unitp particularly,gay m en,in the United
  States;the sam e illness has entered state and goverm nentalinsdtudorus,preventing the

  NaturalOrder,including in governingtheDefendant'sdedsions)tplaindffhasbeen de-
  nied rightfulplace in the afterm ath ofltis honor's incum bency as PresidentofUnited

  Statesp & Pet.forW ritofCel't.*58-9,Patelv.United States,No.22-5280(U.S.202-/ and,




        3.https:/ke c-prod-requests.s3-us-west-z.o r onaws.com/W age-Gap-Appenix.pdf.
Case 9:22-cv-81294-AMC Document 98 Entered on FLSD Docket 09/20/2022 Page 7 of 19



        W HEREAS,even w ith explicitinform ed consentthe Plaintiffcannotavailhim self
  beforetlziscourtbecauseltisavailm entcannotovercom etheviolation t'
                                                                    radidonalnotions

  offairplay,naturaljustice,andsubstantialjusticeasapplied tothecourtand any possible
  ruling by tltiscourt,U.S.const.art.lV,j2 & seealsoUnited StatesOrderofPrecedence-
  United StatesDep'tofState-office ofthe ClaiefofProtocol;and,

        W HEREAS,tltiscourtcannotattach personaljurisdicdon tothePlaintiffasitwould
  violatethe tradidonalnodortsoffai.
                                   rplay,naturaljustice,and substantialjusticezand,
  thus,itsopinion w ould only be advisory;and,
        W HEREAS,in addidon,the corollary to Plaino 'sform erPresidendalprivilege,im -

  munitp isthecourt'slimited judicialreview,Federalist78,U.S.const.art.lV,j2,art.I11
  (originalintent),& am end.V.M arbury v.M adison,SU .S.137 (1803).
        THEREFORE,thisCourtshould dism isssuasponteunderFed.R.Civ.P.12(b)(2),as
  theCottrtdoesnothavepersonaljurisdictionforPlaintiff,orFed.R.Civ.P.12(b)(6),for
  failure to statea claim upon w ltich reliefcan begranted,asthereisno enforcem entm ech-
  nnism to require the Plaintiff,the form erH ead ofState and form erPresident,w ho isalso
  Privileged,perthe N aturalState,and isIm m lm e,perthe N aturalState too;the deficien-
  cies can ortly be cured by new chargesbroughtdirectly by the incum bentPresident,by
  lnisow n counselor,ratltert14> the incttm bentAtlom ey General.

        FURTITERMORE,thenodonsofnaturaljusdce,fairplay,and substandaljusticebut-
  tresscastle doctrine,as generally applied,and Plaintiff'scastle can tm iquely,along w 1t14
  the past Presidentszcan w ithstand allforces exceptthose directly and cortstitudonally
                                                                        .




  com m andedby theincllm bentPresident,c.g.United StatesSecretService orUnited States

  Arm ed and Space Force.SeeDkt.60 at2,5,5 n.3,& 7. This is also because due process

  cannotoverride a Privilege orIm m unity,and substantive due process is considerate of
Case 9:22-cv-81294-AMC Document 98 Entered on FLSD Docket 09/20/2022 Page 8 of 19



  Privileges and Im m unities,perthe Federalistand Anti-Federalist contractofthe Billof

  Rights,and the interest ofthe Founders and Am enders to preserve the culture of our

  Nation. U.S.const.art.IV,j2 & amend.XIV,j 2,cI.1,
                                                  'Lovasco,431U.S.at796,
                                                                       'Feder-

  alist80 (''Itmaybeesteemedthe basisofthe Union,that'the citizensofeach Stateshall

  be entitled to aIIthe privileges and im m unities ofcitizens ofthe severalStates.''And if

  i
  tbe ajustprinciple thatevery governm entO UGHT TO POSSESS THE M EANS O F EX-

  ECUTING ITS OW N PROVISIONS BY ITS OW N AUTHO RlW .'');Pet.forW ritofCert.*

  58-9,Patelv.Unfted stateà,No.22-5280 (U.S.202.2,
                                                 .& compare U.S.const.art.IV,jj

  1-2,
     'wfthU.S.const.art.VI,j 1referringtoArliclesofConfederation (1781),ar'
                                                                          t.IV,paras.

  1 & 3 (''The betterto secure and perpetuate m utualfriendship and intercourse among

  the people ofthe differentStatesinthisUnion(i.e.,DoctrineofComity in U.S.const.art.

  IV,j 2),the free inhabitantsofeach ofthese States,paupers,vagabonds,and fugitives

  iom justiceexcepted,shallbeentitledtoaIIprivilegesand immunitiesoffreecitizensin

  the severalStatesi...provided also that no im position,duties orrestriction shallbe Iaid

  by any State,on the property ofthe United States,oreitherofthem .''// ''FuIlfaith and

  creditshallbe given ineach ofthese Statesto the records,acts,andjudicialproceedings

  ofthe courtsand magistratesofevery otherState.'')(lvmagistrates''replaced with ''citi-

  zen'')(see Dkt.21 at13)(see a/so Pate/v.Unfted States,No.1:21-cv-02004-LAS (Fed.

  Cl.202 ),Dkt.1 at9-10 n.6/.
         -




                                             8
Case 9:22-cv-81294-AMC Document 98 Entered on FLSD Docket 09/20/2022 Page 9 of 19



         UNDERFED.R.CIV P.M ,lhave acom m on quesdon oflaw orfactorinterestin the

  transacdon because a favorable ruling to the Defendantcan violatem y Excellencies,the

  stylepdtles,and my career and statesm aluhip by extension ofthis rllling am ongstli-
  censed Governm entalactors,local,state,federal,and internadonal,w ho m ightsym pa-
  thize G tIAthisCourtunconsdtudonally.

         W HEREAS,the Suprem e Courthas held thata form er Presidentm ay notsuccess-
  fttlly assertexecutive privilege againstreview by ''the very Executive Branch in w hose
  nam e theprivilege is hw oked,''N ixon,433U .S.at447-48 & D kt69 at8;4and,

         W HEREAS,execudvePrivilege and executivelm m tm ity are corollaries,butdistinct

  concepts,U.S.const.art.lV,j2 & am end.XIV,j1,c1.2,
                                                   'and,
         W HEREAS,asserdng one necessarily im putesthe asserdon ofthe other,J#.;and,
         W l-vltM s,form erUnited StatesPresidentTnlm p m ay assertexecudve Tm m unity

  from U rtited States Governm entalforce w ltich is nottm der the com m and ofthe incum -
  bentU nited StatesPresident,Id.;and,

         W HEREAS,in thehappeningsrelated to Nixon,433 U .S.at425,incllm bentPresident

  GeraldFordwasinfimatelyinvolvedinprosecutingformerPresidentNixon,Id.& cf.Dkt.
  1at10;and,

         W HEREAS,here,asllnlike in the happenings related to N ixon,433 U .S.at425,the

  incum bent President is not infim ately itw olved against the prosecudon of President

  Biden,PHH Com .r.ConsumerFinancialProtectionBureau,839F.3d 1,12-13 (D.C.Cir.2016)




         4.An F.
               B.I.cannotclaim execudvePrivilegeagainsttheincum bentAttorney General,butafor-
  merPresidentcan claim executivePrivilege(i.e.PresidentialPrivilege)agairlsttheincuinbentAtlorney
  General.RespedivelyrtheindependentconceptofexecutiveIm munity applies,which favorstheform er
  Presidentagainstthem cum bentAttom ey General.
Case 9:22-cv-81294-AMC Document 98 Entered on FLSD Docket 09/20/2022 Page 10 of 19



   (M adisonianpresidentialcontrol),seeM organv.United States,304U.S.1,2-2(1938)(hold-
   ing thatitis''notthefunction ofthecolzrtto probethem entalprocessesoftlte (Execu-
   tive1''),and Dkt.1at10;and,
         W HEREAS,here,the topics ofdocllm ents are related to foreign policp llnlike in
   Nixon,433 U .S.at425,w here,the doctlm entsw ere related to dom esticpolicy;and,

         W HEREM ,m orespedfically andm aterially,aformerPresident/l-lead ofStateout-
   ranksthe incum bentAttom ey Generalin foreign reladons and diplom adcm atler,w ltich

   areexclusively reserved forthe President'srecognidon,seegenerally ProvidenceJozfrrlcl,
   485U .S.at701(m orethan one''United States''is''startlingv);and,
         W HEREAS,the inclzm bentPresident,the Urtited States O rder ofPrecedence duly

   established by the Office ofthe CltiefofProtocolzand the PresidendalRecordsActshow
   thatthe form erpresidents carry on offidaldudes,w ltic.h com e w 1:14om nipresentprivi-
   leges and im m tm ities,w lzida are absolute except at against an incum bent President,

   Nixon,418U.S.at703-4 & Scheuerv.Rhodes,416U.S.232,239,241,244,& 248,(1974/ and,
         W I-IEREAS,theCortsdtutionalpowerofexecudvePrivilege and/orexecudve1m -
   m llnity ofa form erPresident,thus,m ay be law hllly asserted againstthe incllm bentDe-

   partm entofJusdce,U.S.const.art.lV,j2 & am end.XIV,j 1,c1.2,M urray v.Bush,No.
   06-C-0781*1(E.D.W is.Aug.31,2006)(''whetherthe action isfrivolousorm alidous,or
   seeksrelieffrom animmuneplrfy,orfailstostateaclaim onwltic.h reliefmaybegranted./'l
   (italicsadded)(intem aldtationsomitted);cf.28U.S.C.j 1915(e)(2)(B)(iii);Williamsp.
   Holmes,No.1:17-cv-00799-KOB *1(N.D.Ala.Sep.5,2017:M alcolm v.CifyofM iami,No.
   22-w -20499-1*NG/D            *2,4,& 6(S.D.Fla.Mar.7,2022);& Listerv.Dm 'fofTreas-
   ung,408F.3d 1309(101 Cir.2005: and,
         W I-IEREAS,thePlaintiffcan law fully possessthe disputed United Statesrecords,44

   U.S.C.j2202;and,
Case 9:22-cv-81294-AMC Document 98 Entered on FLSD Docket 09/20/2022 Page 11 of 19



         W HEREAS,theFed.R.Civ.P.8(c)(1)allow forthe affirmativedefensesofillegality
   (Defendant's play in obtaining PresidendalRecords),license (U.S.const.art.lV,j 2),
   laches(Defendantshould haveacted quickeriftruly suspidousofnadonalsecurity),or
   tm clean hands(Defendantshould haveinvolved theincum bentPresidentoftheUnited
   States);and,
         W - ltEAsztltis Cottrtisin Com ity w ith both Plaindffand Defendant,and hasthe

   privilegeofservingeach party in ltis/her/theirindividualcapacitp DoctrineofComitp
   U.S.const.art.lV,j2.
         THEREFORE,thePlaintiffisim m tm e from prosecudon 9om theD efendant,and the
   Courtshould retttm allrecordsto plaindff,PresidentTnlm p,and order charges against

   TheH onorable Garland forconversion,''treason''//'w r''/''attackz''and rebellion orin-
   sttrrection.U.S.const.art.1H,j3918U.S.C.j23819& ProvidenceJournal,485U.S.at701.
         FURTHERMORE,tm dertheConsdtudonalSction,w lxich starts,atam inim llm ,w ith

   the corporate chaz-tersm endoned in the Dedaration ofIndependence (1776),the local,
   excellent corporations and other localauthorities have devolved pow er to the Federal
   Sovereigzu m uch m ore than the SisterStateshave to the FederalSovereign;thus,the in-
   terestin the trnnsacfon is a check on the Devolved Sovereignty,Faithfully ordered by

   me,theintervenor,and asatn payer.U.S.corust.al't.lV,jj 1-2& art.W ,j1;Federalist
   78;& 42U.S.C.jj2000bbetseq.SeealsoW ltiteHouseOfficeofIntergovem m entalAffairs,
   htt-ps:/kwww .whitehouse.gov/iga/.
         W > ftM s,barring subordinate Executive Branch from review ing and using the
   classified records for crim inalinvesdgates purposes is a m eaningfulw ay ofprotecting
   ''the confidendaliiy ofPresidentialcom m llnicadonsz''N ixon,418U .S.at705 & contra.D kt.

   69 at10;and,
Case 9:22-cv-81294-AMC Document 98 Entered on FLSD Docket 09/20/2022 Page 12 of 19



         W HEREAS,thereasonsPresidentsorthecotzrtsallow independentpersonnelacross
   the Intelligence Com m unity to review the very sam e records for other dosely related
   purposesbutnotthe rem ainderofthe Execudve Branch do nothave to be revealed in
   orderto protectthe confidendality ofPresidentialRecords,N ixon,418 U .S.at705;and,
         W HEREAS,tecbnocrats are the personnelac oss the Intelligence Com m tm ity w ho

   usually receivetheserecordsandwhosenarrow objectivesarepredselycodified,llnlike
   in the not-independentExecutive Branch w ere pardsans,party m em bers,form er m em -
   bers ofCongress,and bureaucratsw ho are accountable to varying interests,such asfor-
   eign H eads of State and inter-governm ental organizadorts and those laierarclzies, are
   likely to receive and be exposed these records;and,

         W HEREAs,an affirm ance ofthe defaultprotectiortistrule ofPresidendalRecords

   willallow theRepublictorem ainOneand intact,Nixon,418U.S.at705,Providencelournal,
   485 U .S.at701,N ixon,433 U .S.atM 7-9,& Hein v.Freedom From Religion Found.,Inc,551

   U.S.587(2007)(Rather,theyw ere''createdentirelywithin theexecufvebranch...byPres-
   idendalexecudve order.''(quoling Freedom From Religion Found.,Inc.v.Chao,433 F.3d
   989,997(7th CiT.2006)/ and,
         W HEREAS,theDeparM entofJusticeisnotanindependentagencyoftheExecudve
   Branch;and,
         W HEREAS,here,the ''trial''isofaform erPresident,w ltich w asnotinitiated by the
   incum bentPresident;and,

         W HEREAS,theenforcem entofN ixon,418U .S.at705 isdifferentdue to tlae advance-

   m entoftedm ology;and,

         THEREFORE,Preventing theUnited StatesDeparlm entofJusdce9om gaining aC-
   cessto tlaem aterialPresidendalRecordsislaw ful,asw ellasthe appointm entofthespe-

   cialm aster,butthe PresidendalRecordsare properly returned to PresidentTnlm p atthe

                                             12
Case 9:22-cv-81294-AMC Document 98 Entered on FLSD Docket 09/20/2022 Page 13 of 19



   earliestconvenience;ifnot,atleasta copy ofa1lrecordszas the Plaintiffm aintains his
   Prestlm ption ofcorrecm essUT:dIproven othenvise.
         FG TITERMORE,thistransaction cottld extentto localgovernm ents,a setofDevolv-

   ersofSovereigntp andinterferew1f.
                                   11localjurisdictions'recordkeepingpracdcesandthe
   privilegesand immtmidesoftheiragents,including when thosejttrisdicdonswere de-
   m arcated in anotherstate.
         W HEREAS,Dkt.69 at10-11 equivocatesabouttheExecutive Branclwgenerally w ith
   them orespecificterminologiesofexecudvePrivilegesand/orIm m llnitiesapplied tothe
   Execudve Branch-incum bent-presidentand ExecudveBranclwform er-president;and,
         W HEREM D efendantisunpersuasively argtling,thatin addidon to itstrespassto
   a form er President's castle, its Governm ental unit's needs are of m ore nadonal im -
   portancethan the statusquo established by ttzeExec'utiveBranch-incllmbent-president,
   w hich doesnotdiscrim inate againsttheExecudveBrO ch-fo= er-president-ple e f,and
   m adepublicly availablethrough theUrtited StatesD epnrfm entofState-officeoftheCltief

   ofProtocol(whethertheExecudveBrr G -G o m bent-Attom ey-Generz isastateactoror
   a governm ental actor is irrelevant due to the order of precedence and the Executive
   Branch-incum bent-president's establishm ent ofthe nationalsecurity agenda;nonethe-

   less,thesedistincdonscannotbem uted),Egan,484U.S.at5279seealso,e.g.,M um hy,769
   Fed.Appx.at792 (''The authority to protectnadonalseclArity inform adon falls on the
   PresidentIdirectlyl.v),& Dkt.69at13;and,
         W M ltM s,the Presidentis artagent,in the term s ofthe PresidentialRecords AG

   and Federalist78;and,

         W HEREAS,the cottrts m ustprotectthe Presidentfrom aggression from tm know n

   sourcesw ithin ExecutiveBranch,w ltich concurrently politically answ erto varying inter-
   ests,Dkt.69 at18 quoting Egan,484 U .S.at529;and,

                                             13
Case 9:22-cv-81294-AMC Document 98 Entered on FLSD Docket 09/20/2022 Page 14 of 19



          W HEREAS,the couds m ustbe sensidve to the inter-w orkings and inter-politics of
   the executivebranch;

          W HEREAS, hypothedcally,Execudve Brr G -G c= bent-Attom ey-Generz-Dol-
   D CI-FBIcould have been denied access to PresidendalRecordsofExecutive Branch-for-
   m er-president--frum p by Executlve BranG -G =   bent-president-Biden;and,
          W HEREM ,therefore,the currenthappeningsin the case-at-hand are appeasem ent
   to vitalpartsoftlae Governm entand possible polidcalpardesand factlonsthe President

   m ustappease,PHH Cprp,839 F.3d at1& 12-13 (AstheSupreme Cottrthmsexplained,
   ottrConstitudon ''w asadopted to enable thepeople to govem them selves,O ough their
   elected leadersz''and theConstitudon ''requiTesthataPresidentchosen by the entireN a-

   tion oversee the execution ofthe 1aw s.'')(quotingFreeEntem riseFund v.Pub.Co.Acct.
   OversightBd.,561U.S.477,499(2010))9United Statesv.Arthrex,Inc,N o.19-1434 *23,594
   U.S.     (2021)(Roberts,C.J.,TheConsdtudonalltierarchy reqllires''theexerciseofex-
   ecudvepower(toremainlaccotmtabletothepeople.v);& Dkt.69at18quoting Egan,484
   U.S.at527(tmauthorized persons);and,
          W HEItEAS,there is rule oflaw,the Courts m ustprotectthe Execudve Branch-in-

   ctlm bent-presidentand theExecudve Branch-form er-presidentfrom aggressions;and,

          W HEREAS,thecurrentactsareaggressiortsagainsttheUnited Stateszfound in som e

   W estem l-lemisphere's-and SisterCommonlaaw jttrisdidions'-governmentalfasltionfor
   coupsdetat.

          THEREFORE,theCourtshould enterjudgem entin favorofPlaintiff,whoisim mune
   from prosecudon by theD efendant-o .Gonzalez.




                                             14
Case 9:22-cv-81294-AMC Document 98 Entered on FLSD Docket 09/20/2022 Page 15 of 19



            W HEREAS,inadditiontoDkts.zl,36,and60,thePoliticalQuesdonDockine,under
   Bakerv.Carr,369 U.S.186,217 (1962)(a textually dem onskable consdtudonalcom mit-
   m entoftheissueto acoordinatepolidcaldeparM ent);and,
            W HEREAS,pursuanttothePolidcalQuesdon Dockinetheissueisreserved forthe
   Presidency directly,fortheinterestofm aintainingPresidendalAutonom y (i.e.in an ear-
   lier draftofthe Declaradon ofIndependence of1776,ThomasJefferson addressed the
   Grievances against the Parliam ent,w ltic.h he thought caused the denial of the O live

   BranchTreatp but,TheKingw asstillgivingpowertoParliament),compareOriginalDraft
   (''w eutterly dissolve allpolidcalconnecdon wltich m ay heretofore have subsisted be-
   tween us and the people or parliam ent of GreatBritain:and finally w e do assert and
   declarethesecoloniesto befreeand independentstates,and thatasfree and independent

   states,they have fullpow erto levy w ac concludepeace,contractalliances,establish com -

   m erce,and to do al1otherac'tsand thingswhich independentstatesm ay ofrightdo.'')
   withFinalDraftp and,
            W HEREAS, Robert Yates, w ho refused to sign the U nited States Constitudon

   thoughtthatthejudidarywould beable''tomould''theroleofthepresidencp6and,



            5.https:/kteachl
                           'ngamericanhl
                                       estog .org/do= ent/rough-draz-of-dae-declarauon-of-G depend-
   ence/.
            6.https://- .hedtage.org/courts/report/agaH t-l'udicial-supremacy-dxe-founders-r d-tlxe-
   limits-the-courtsC'Everybodyofmen investedw1t14offkes''Yatesobserved,''aretenadousofpowen''
   Moreover,thisloveofpowerwould''influence''judges''toextendtheirpower,andirtceasetheirrights/'
   w 1t1:the resuk thatthecourtswilltend to ''give such am eaning to theConstitution in allcaseswhereit
   can possibly be done,asw illenlarge tlaesphereofdAeirauthont  'p ''...7'
                                                                          heend resultofa1ltlzisw otzld be a
   Suprem e Court* t1:pow erto rulethe country in them ostim portantm atlersaccording to itsown will-
   tonotonly exceed itsauthoz' ity butto usurp others'authority.''Ihispowen''Yatessaid,''willenable''the
   justicesoftheSupremeCourt''topmlflffthegovernmentinfoalmostfuzpshapefhc.
                                                                          yplease.''...Watesfarthercon-
   tended thattheSuprem e Courtw ould notonly besuprem eoverallothe.rcourts,buttbatitw ouldsin fact,
   bethe suprem epow erin the govem m entto becreated by theConstitution.Thisssfprcrrfflcy,Yatescon-
   tended,wouldfollowh'om theCourt'sptlu?crofsettlingforallpfhcrpoliticaladors@htrauthoritativezrlctmflzy
                                                                                                        gof
   theConstitution.TheSuprem eCotzrt,heobsew edf''hasthepower,in thelastresorttto determinea11ques-
   donsthatm ay arise irtthecotzrse oflegaldiscusslon,on them eaning and constructlon ofthe Constitw
   don.'').
Case 9:22-cv-81294-AMC Document 98 Entered on FLSD Docket 09/20/2022 Page 16 of 19




         W HEREAS,''Ehhlm an experienceteachesthatthose who expectpublic dissem ina-
   tion oftheir rem arks m ay w elltem per candor w ith a concem for appearances and for

   their own intereststo tlte detrim entofthe dedsionm aking process...la)Presidentand
   thosew ho assisthim m ustbefreeto explore alternativesin theprocessofshaping policies
   and m aking dedsions and to do so in a w ay thatm any w ould be tm w illing to express

   exceptprivatelp ''Nixon,418U .S.at705 & 708;and,

         W HEREAs,''liln designingthestructureofottrGovernm entand dividing and atlo-
   cating thesovereign pow eram ong three co-equalbranches,the Fram ersofthe Constitu-
   don soughtto provide a com prehensive system ,buttheseparatepozpcrswere notintended

   tooperatewith absoluteindependence,''Nixon,433U.S.at442-3 (quoting Youngstozvn Sheet
   & TubeCo.v.Sawyer,343U.S.579(1952)/and,
         W I-IEREM ,the A ttom ey Generalm ightbe appropriate ifCongress'interestsw ere

   violatedw1t1:thePresidentialRecordsAct,butch Id.,2U.S.C.jj192& 271-2881% & An-
   derson v.Dzfnn,19U.S.204 (1821)(only when Congress'interestsareviolated,theSegre-
   ant-at-Armsdoestheenforcem ent;seegenerallyTitle2 oftheUnited StatesCode).
         THEREFORE,the Courtshould enterjudgement,tmderFed.R.Civ.P.12(b)(2)or
   (b)(6),in favorofPlaintiffzwhoisim mtm efrom prosecudon by theDefendant-o .Gon-
   zalez,and advise thatprosecution ism ostproperfrom the incum bentPresidenthim self

   orhishonor'scotmselor,ioe.Cotm selortothePresident(M T.SteveRicchetti,J.D.),butnot
   theAttorneyGeneral(TheHon.MerrickGarland,J.D.).Cf.W hiteHouseGeneralCoun-
   selor(M r.StuartF.Delerp J.D.).In reLindsq,158F.3d at1280-2 (W lziteH ouseGeneral
   Cotm seltmderthecom m and oftheincllm bentPresidentv.DOJ).Federalist78.A1ldoc-
   llm entsshould be returned to Plaintiff.

         IN Tl-IEALTERNA'I'IVE,thecourtm ay dism issunderFed.R.Civ.P.12* )47).
Case 9:22-cv-81294-AMC Document 98 Entered on FLSD Docket 09/20/2022 Page 17 of 19



         IN Tl'IEALTERNATIVE,since the D efendant's atlts are unconsdtudonaland cannot
   beratified to becom e consdtudonal,asD efendantom itted theincum bentpresident-l-lead
   ofStateand -l-lead ofGovernm entagainsttheincum bentPresident'sow n O rderforPro-
   tocol,the couz'tm ay dism iss and rule in favor ofPlaindff for the D efendant's unclean
   hands.
         IN 1aIEALTERNATIVE,the cottrtm ay issue an Orderto Show Causeto the D efend-

   antforlaw enforcementjurisdiction.
         A TALLCOSTS,thisCourtshould avoid creating a slippery slopeso thatthe incum -

   bentPresidentwillbe subjectto arrestby the incttmbentAtlorney General,who,but,
   serves atthe honor'spleasttre,or create an unconsdtutionalautonom y ofexecudve de-
   parM ents,w hich w illnotbe accountable to the People,- or,som etim es,to theirvarying
   interests- the epitom e ofexecutive tyranny.

         ''(A1prose (m odon),howeverinartfully pleaded,m ustbe held to lessstringent
   standards th> form alpleadings drafted by law yers.''Erickson v.Pardus,551 U .S.89,94

   (2007).
         lusem y ConsdtutionalPrivileges,honors,and rightsofknow ing from m y under-

   graduate and 1aw schoolzjttris dodorcandidacp educadons,and politicaloffices and
   from readinglaw outside ofform alschooling forthew riting and discussiorts,argtlm ents,

   and m odorusofthesefilings,seeDkt.21at5 & 20and supra,p.18(signaturelinel.
         lm ove to reirustatem y M otion forIFP atDkt.22.




                             Respectfullly subm itted,




                                             17
Case 9:22-cv-81294-AMC Document 98 Entered on FLSD Docket 09/20/2022 Page 18 of 19




                          /s/RajK.Patel
                          T.E.,T.E.RajK.Patel(prosej
                          6850 East21stStreet
                          Indianapolis,IN 46219
                          M arion County
                          317-450-6651(cel1)
                          rajpzolo@gmail.com
                          www.rajpatel.live

                          J.D.Candidate,NokeDam eL.Sch.2015-2017
                          President/sm dentBody President,StudentGov'tAss'n of
                             Em oryU.,Inc.2013-2014(corp.sovereign zol3-present)
                          Sm dentBody President,Brow nsburg Cm ty.S(:h.
                             Corp./president,Brownsbm g l-ligh Sch.StudentGov't
                             2009-2010(corp.sovereign 2009-present)
                          Rep.9om theN otreD am e L.Sch.StudentB.A ss'n to the
                             Ind.St.B.Ass'n 2017
                          Deputy RegionalDirector,Yotm g D em ocratsofAm o-l-ligh
                             Sch.Caucus2008-2009
                          Co-Founder& Vice Chair,Ind.l-tigh Sch.Dem ocrats2009-
                             2010
                          VicePresidentofFin.tlndep.l,Oxford C.Republicansof
                             Em ory U .,lnc.2011-2012




                                        18
Case 9:22-cv-81294-AMC Document 98 Entered on FLSD Docket 09/20/2022 Page 19 of 19
Y

               rl.      *
                 .




                                  CERTIH CATE O F SERV ICE

    1certify thatIserved a copy oftheforegoing RajK.Patel's(Pro Se)Reply to Dkt.69on
    09/16/2022tobelow individualsviathee-m ail:
    Jam esM .Trusty
    IFRAH,PLLC                                     Juan AntonioGonzalez
    1717 PennsylvardaA vezN W ,Suite650            UM TED STA TES ATTORN EY
    W ashington,DC 20006                           99 N E 41 Skeet,81 Floor '
    202-852-5669                                   M iam i,Fl33132
    Email:jtrustyG fraltlaw.com                    Telephone:(305)961-9001
                                                   Em o :y
                                                         'uan.antoO o.go= alez@usdol
                                                                                   '.gov
    Lindsey H alligan
    511SE 51 Avenue                                Jay 1.Brattsflhief
    FortLauderdale,Florida33301                    Cotm terintem gence & ExportControl
    720-435-2870                                   Secdon N at'lSecut'ity D iv.
    Em ail:lindseyhalligan@outlook com             950 PennsylvaniaA venue,N W
                                                   W ashington,D .C.20530
    ChristopherM ichaelKise                        (202)233-0986
    CltrisKise& Assodates,P.A.                     jay.brattz@usdoj.gov
    201EastPark Ave.Ste,51 Floor
    Tallahassee,FL 32301                           rresidentJoeBiden
    (850)270-0566                                  c/o M arinaM .Kozm ycz,AssodateGen.
    chris@cldse.net                                      Cotm sel
                                                   The E.O.P.attheW ltite H ouse
    M .Evan Corcoran                               1600 PennsylvaniaA venue N W
    Silverm an,Thom pson,Slutkin,& W hite,         w ashington, D .C.20500
    LLC                                            Phone:202-457-1414
    400EastPrattStreet,Sttite900                   (REDACTED)
    Ballim ore,M D 21230
    410-385-2225
    ecorcoran@silverm r l om pson.com

    D ated:Septem ber16,2022
                                     Respecdlllly subm itted




                                     /s/RajPatel
                                     T.E.,T.E.RajK.Patel(ProSe4
                                     6850 East21stStreet
                                     Indianapolis,IN 46219
                                     M arion County
                                     317-450-6651(cel1)
                                     rajpzolo@gmail.com
                                     www.rajpatel.live

                                              19
